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                                                       Exhibit 3
                       Designations of Deposition Testimony of Paul Bettencourt (July 29, 2022)


                Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line            End Page/Line           Defendants’     Start Page/Line  End Page/Line        Plaintiffs’
                                                    Objections                                           Objections
        5:7                      5:10
47:12 (starting at              47:17
    “which”)
       48:6                     48:12
49:21 (starting at              49:24
     “Prior”)
      50:16                      51:4
      51:12                     51:19
      52:10                     52:14
      52:17                     52:22
      59:13                     59:14
      59:17                      60:9
      60:24                     60:25
       61:5                     61:10
      61:12                     61:20
 65:7 (starting at              65:25
      “Do”)
       66:9                     66:13
      66:18                     66:23
68:25 (starting at               69:2
      “has”)
      69:13                     69:16
      69:18                     69:24
       70:1                      70:3
70:20 (starting at              70:23
   “You said”)

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                Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line            End Page/Line           Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                    Objections                                          Objections
       71:1                      71:5
      75:20                      76:7
      76:10                     76:12
      76:15                     76:19
      76:21                      77:5
      84:22                      85:6
      85:14                     85:18
      85:20                      86:1
       86:3                      86:6
      86:10                     86:12
      86:16                      87:6
88:19 (starting at              88:22
     “Did”)
      88:25                      89:6
      90:12                     90:15
      90:18                     90:21
      90:23                     90:24
 92:5 (starting at              92:10
     “that”)
      92:13                     92:19
      92:22                      93:2
       93:4                      93:6
       93:8                     93:14
      93:17                     93:23
       94:1                      94:5
       94:7                     94:12
       96:8                      96:9
      96:12                      97:1
       97:4                      97:7

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                Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
 Start Page/Line           End Page/Line           Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                    Objections                                          Objections
       97:9                       97:9
      97:12                       98:1
       98:4                      98:18
      98:21                      98:22
      98:24                       99:9
      99:13                      99:17
      99:18                      99:19
      99:22                      99:22
     106:11                     106:13
     106:15                     106:22
     110:16                     110:20
     110:23                     110:25
111:13 (starting at             111:22
     “Did”)
     112:15                      113:7
     113:10                     113:13
     113:16                      114:2
     119:18                      121:4
     121:14                     121:16
     125:14                     125:17
     125:21                     125:25
     127:22                      128:4
      128:8                     128:21
     128:24                      129:9
     141:17                      142:5
      142:8                      143:6
      143:9                     143:18
     143:21                     144:20
     144:22                     145:10

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             Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                          Objections
    145:13                   145:22
    145:24                    146:1
     146:4                    146:5
     146:7                   146:18
    146:21                   148:20
    148:25                   149:13




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